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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ARIGNA TECHNOLOGY LIMITED,                      §
                                                 §
                                                 §
                Plaintiff,                       §
                                                 §
 v.                                              §    CIVIL ACTION NO. 2:21-CV-00174-JRG
                                                 §
 GENERAL MOTORS LLC, NISSAN                      §
 MOTOR COMPANY, LTD., NISSAN                     §
 NORTH AMERICA, INC.,                            §
                                                 §
                Defendants.                      §

                                             ORDER

       The Court issues this Order sua sponte. Before the Court is Plaintiff Arigna Technology

Limited’s Motion for Leave to Supplement Rule 26 Expert Disclosures (the “Motion”). (Dkt. No.
    .
273). In light of the limited time remaining before the pretrial conference set for June 13, 2022 in

the above-captioned matter, the Court finds that expedited briefing on the Motion is appropriate.

       Accordingly, it is ORDERED that Defendants General Motors LLC, Nissan Motor

Company, Ltd., and Nissan North America, Inc.’s response in opposition to the Motion shall be

filed by 3:00 pm on Wednesday, May 25, 2022. No reply or sur-reply shall be filed without leave

of the Court.

       So ORDERED and SIGNED this 20th day of May, 2022.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
